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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 Scott Jeffrey Estep and Debra Lynn Estep,
                                                 Case No.:
                      Plaintiffs,
                                                 COMPLAINT WITH JURY
 v.                                                 TRIAL DEMAND

 Equifax Information Services, LLC;
 Experian Information Solutions, Inc.;
 Ocwen Loan Servicing, LLC; Nationwide
 Credit, Inc.; and Bank of America
 Corporation,

                      Defendants.


                              PRELIMINARY STATEMENT

This action for damages is based on Defendants’ false reporting on Plaintiffs’ credit

files and/or consumer reports, and failures to follow reasonable procedures to assure

maximum possible accuracy of the information concerning Plaintiffs, failures to

conduct reasonable investigations with respect to such information, and illegal debt

collection efforts.

                                     PARTIES

1.    Plaintiff, Scott Jeffrey Estep, is a natural person who resides in Cobb County,

      Georgia.
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2.   Plaintiff, Debra Lynn Estep, is a natural person who resides in Cobb County,

     Georgia.

3.   Plaintiffs are individuals and are therefore “consumers” as that term is defined

     by 15 U.S.C. § 1681a(c).

4.   Plaintiffs are allegedly obligated to pay a debt and are therefore “consumers” as

     that term is defined by 15 U.S.C. § 1692a(3).

5.   Defendant Equifax Information Services, LLC (hereinafter “Equifax”) is a

     limited liability company formed under the laws of the State of Georgia. Equifax

     may be served with process via its registered agent Shawn Baldwin, at 1550

     Peachtree Street NW, Atlanta, Georgia 30309.

6.   Equifax regularly assembles and/or evaluates consumer credit information for

     the purpose of furnishing consumer reports to third parties, and uses interstate

     commerce to prepare and/or furnish the reports, and accordingly, is a “consumer

     reporting agency” as that term is defined by 15 U.S.C. § 1681a(f).

7.   Defendant Experian Information Solutions, Inc. (hereinafter “Experian”) is a

     corporation formed under the laws of the State of Ohio, headquartered in the

     State of California, and registered to do business in the State of Georgia.

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      Experian may be served with process via its registered agent CT Corporation

      System, at 1201 Peachtree Street NE, Suite 1240, Atlanta, Georgia 30361.

8.    Experian regularly assembles and/or evaluates consumer credit information for

      the purpose of furnishing consumer reports to third parties, and uses interstate

      commerce to prepare and/or furnish the reports, and accordingly, is a “consumer

      reporting agency” as that term is defined by 15 U.S.C. § 1681a(f).

9.    Defendant, Ocwen Loan Servicing, LLC (hereinafter “Ocwen”) is a limited

      liability company formed under the laws of the State of Delaware,

      headquartered in the State of Florida, and registered to do business in the State

      of Georgia. Ocwen may be served with process via its registered agent

      Corporation Service Company, and 40 Technology Parkway South, Suite 300,

      Norcross, Georgia 30092.

10.   Ocwen is primarily engaged in the business of collecting consumer debts for

      defaulted residential home loans/mortgages, and mails over one-thousand debt

      collection letters and places over five-thousand debt collection telephone calls

      to consumers throughout the United States each month in attempts to collect on

      these debts.

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11.   Upon information and belief, Ocwen operates nationally and is licensed in

      multiple states as a collection agency and/or debt collector.

12.   Ocwen regularly and in the ordinary course of business uses various

      instrumentalities of interstate commerce and the US Mail in business, the

      principal purpose of which is the collection of defaulted residential home

      loan/mortgage debts, and regularly collects or attempts to collect, directly or

      indirectly, defaulted residential home loan/mortgage debts owed or due, or

      asserted to be owed or due, to another, and is therefore a “debt collector” as that

      term is defined by 15 U.S.C. § 1692a(6).

13.   Ocwen regularly and in the ordinary course of business furnishes information to

      one or more consumer reporting agencies about consumer transactions, such as

      Plaintiff’s transactions at issue in this lawsuit and described herein, and is

      therefore a “furnisher” as that term is used in 15 U.S.C. § 1681s-2.

14.   Defendant, Nationwide Credit, Inc. (hereinafter “Nationwide”) is a corporation

      formed under the laws of the State of Georgia. Nationwide may be served with

      process via its registered agent Corporation Process Company, at 2180 Satellite

      Boulevard, Suite 400, Duluth, Georgia 30097.

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15.   Nationwide regularly and in the ordinary course of business furnishes

      information to one or more consumer reporting agencies about consumer

      transactions, such as Plaintiff’s transactions at issue in this lawsuit and described

      herein, and is therefore a “furnisher” as that term is used in 15 U.S.C. § 1681s-

      2.

16.   Upon information and belief, Nationwide operates nationally and is licensed,

      bonded or otherwise authorized to collect delinquent and defaulted accounts in

      all states.

17.   Nationwide uses interstate commerce and/or interstate mail in its business. The

      principal purpose of Nationwide’s business is the collection of any debts.

      Nationwide also regularly collects, or attempts to collect, directly or indirectly,

      debts owed or due, or asserted to be owed or due, to a third party. Nationwide is

      therefore a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

18.   Defendant, Bank of America Corporation (hereinafter “BOA”) is a corporation

      formed under the laws of the State of Delaware and registered to do business in

      the State of Georgia. BOA may be served with process via its registered agent




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      CT Corporation System, at 1201 Peachtree Street NE, Suite 1240, Atlanta,

      Georgia 30361.

19.   BOA regularly and in the ordinary course of business furnishes information to

      one or more consumer reporting agencies about consumer transactions, such as

      Plaintiff’s transactions at issue in this lawsuit and described herein, and is

      therefore a “furnisher” as that term is used in 15 U.S.C. § 1681s-2.

                         JURISDICTION AND VENUE

20.   This Court has federal question jurisdiction over Plaintiff’s Fair Credit

      Reporting Act (“FCRA”), 15 U.S.C. § 1681, et seq., claims pursuant to 15

      U.S.C. § 1681p and 28 U.S.C. § 1331. This Court also has federal question

      jurisdiction over Plaintiff’s Fair Debt Collection Practices Act (“FDCPA”), 15

      U.S.C. § 1692, et seq., claims pursuant to 28 U.S.C. § 1331 and 15 U.S.C. §

      1692k(d). Additionally, jurisdiction and authority to enforce a bankruptcy court

      order arises under 28 U.S.C. § 1334.

21.   This Court has personal jurisdiction over Equifax because, inter alia, Equifax is

      a limited liability company formed under the laws of the State of Georgia, and




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      frequently and routinely conducts business in the State of Georgia, including the

      conduct complained of herein.

22.   This Court has personal jurisdiction over Experian because, inter alia, Experian

      frequently and routinely conducts business in the State of Georgia, including the

      conduct complained of herein.

23.   This Court has personal jurisdiction over TransUnion because, inter alia,

      TransUnion frequently and routinely conducts business in the State of Georgia,

      including the conduct complained of herein.

24.   This Court has personal jurisdiction over Ocwen because, inter alia, Ocwen

      frequently and routinely conducts business in the State of Georgia, including the

      conduct complained of herein.

25.   This Court has personal jurisdiction over Nationwide because, inter alia,

      Nationwide frequently and routinely conducts business in the State of Georgia,

      including the conduct complained of herein.

26.   This Court has personal jurisdiction over BOA because, inter alia, BOA

      frequently and routinely conducts business in the State of Georgia, including the

      conduct complained of herein.

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27.   Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District of Georgia

      because a substantial part of the events or omissions giving rise to the claims

      occurred in this district. Pursuant to LR 3.1B(3), NDGa, venue is proper in the

      Atlanta Division because the conduct complained of herein occurred in Cobb

      County, which is in the Atlanta Division.

                          FACTUAL ALLEGATIONS

      Plaintiffs’ Mortgages and Bankruptcy

28.   On March 26, 2010, Plaintiffs obtained a residential home loan (the “First

      Mortgage”) from Mortgage Electronic Registration Systems, Inc., as nominee

      for Walker Jackson Mortgage Corporation, for the original principal amount of

      $153,439.00.

29.   The First Mortgage is secured by residential real property located at 4812 Helga

      Way NE, Woodstock, Georgia 30188-4066 (the “Property”), as evidenced by a

      Security Deed recorded in Deed Book 14761, Page 5419 of the Cobb County,

      Georgia real estate records.

30.   Prior to July 22, 2011, the First Mortgage was assigned to BOA.




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31.   On August 22, 2006, Plaintiffs obtained a residential home loan (the “Second

      Mortgage”) from Harborside Financial Network, Inc. for the original principal

      amount of $36,900.00.

32.   The Second Mortgage is secured by the Property, as evidenced by a Security

      Deed recorded in Deed Book 14376, Page 4012 of the Cobb County, Georgia

      real estate records.

33.   As the Second Mortgage debt was for a residential home loan, it was primarily

      for personal, family and household purposes, and was therefore a “debt” as that

      term is defined by 15 U.S.C. § 1692a(5)

34.   Prior to July 22, 2011, the Second Mortgage was assigned to Litton Loan

      Servicing, L.P. (hereinafter “Litton”).

35.   On July 22, 2011, the Plaintiffs filed a Voluntary Chapter 13 Bankruptcy

      Petition in the United States Bankruptcy Court for the Northern District of

      Georgia, Atlanta Division, Case Number 11-71106 (the “Bankruptcy”).

36.   Plaintiffs’ First Mortgage and Second Mortgage were listed as secured debts in

      Schedule D of their Bankruptcy Petition.




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37.   On July 22, 2011, as part of their Bankruptcy, Plaintiffs filed a bankruptcy plan

      (the “Plan”) which altered and redefined the contractual relationship between

      Plaintiffs and BOA regarding the First Mortgage.

38.   The Plan also altered and redefined the contractual relationship between

      Plaintiffs and Litton regarding the Second Mortgage.

39.   On August 24, 2011, Litton filed a Proof of Claim in Plaintiff’s Bankruptcy

      Case for $36,346.14.

40.   On September 16, 2011, BOA filed a Proof of Claim in Plaintiff’s Bankruptcy

      Case for $150,860.92.

41.   On April 19, 2012, the Bankruptcy Court issued an Order Granting Debtor’s

      Motion to Value collateral and Modify Rights of Litton Loan Servicing, L.P.

      Pursuant to 11 U.S.C. §506 and §1322, stripping Litton of its security interest,

      and ordering that Litton’s claim be treated as a general non-priority unsecured

      claim.

42.   On May 24, 2012, the Bankruptcy Court entered an Order Confirming Plan, and

      the Plan became res judicata as to the rights and duties of the Plaintiffs and BOA

      as they relate to the First Mortgage and terms of payment.

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43.   The Plan also became res judicata as to the rights and duties of the Plaintiffs

      and Litton as they relate to the Second Mortgage and terms of payment.

44.   On June 1, 2012, the Bankruptcy Noticing Center served BOA and Litton with

      a copy of the Order Confirming Plan.

45.   On or about August 18, 2014, Ocwen obtained the servicing rights to the Second

      Mortgage.

46.   At the time Ocwen obtained the servicing rights to the Second Mortgage, the

      Second Mortgage was in default, thus making Ocwen a default servicer of the

      Second Mortgage.

47.   Ocwen was not the original lender on the Second Mortgage, does not own the

      Second Mortgage, and is not a creditor of Plaintiffs.

48.   Rather, Ocwen was and is attempting to collect the Second Mortgage debt,

      which was allegedly owed or due another, from Plaintiff.

49.   Plaintiffs abided by the terms of the confirmed Plan, and received a discharge

      of their debts by Order of the Bankruptcy Court dated August 31, 2015.




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50.   The Second Mortgage being serviced by Ocwen was among the debts

      discharged, and Ocwen was served with a copy of the Discharge Order by the

      Bankruptcy Noticing Center on September 2, 2015.

51.   Pursuant to the Bankruptcy Plan, the First Mortgage was not discharged.

      Ocwen’s Mailings to Scott Estep

52.   On or about November 24, 2015, Ocwen sent Scott Estep a Mortgage Account

      Statement and request for payment via US Mail, in an attempt to collect the

      discharged Second Mortgage debt.

53.   In the November 24, 2015 Mortgage Account Statement, Ocwen stated that the

      Second Mortgage had a past due balance of $16,869.88 that was “Due Now.”

      A true and correct copy of the relevant portion of the November 24, 2015

      Mortgage Account Statement is as follows:




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54.   Because the Second Mortgage was discharged in Plaintiffs’ Bankruptcy, the

      information described above was both false and misleading.

55.   On or about December 22, 2015, Ocwen sent Scott Estep a Mortgage Account

      Statement and request for payment via US Mail, in an attempt to collect the

      discharged Second Mortgage debt.

56.   In the December 22, 2015 Mortgage Account Statement, Ocwen stated that the

      Second Mortgage had a past due balance of $16,869.88 that was “Due Now.”
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      A true and correct copy of the relevant portion of the December 22, 2015

      Mortgage Account Statement is as follows:




57.   Because the Second Mortgage was discharged in Plaintiffs’ Bankruptcy, the

      information described above was both false and misleading.




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58.   On or about January 22, 2015, Ocwen sent Scott Estep a Mortgage Account

      Statement and request for payment via US Mail, in an attempt to collect the

      discharged Second Mortgage debt.

59.   In the January 22, 2015 Mortgage Account Statement, Ocwen stated that the

      Second Mortgage had a past due balance of $16,869.88 that was “Due Now.”

      A true and correct copy of the relevant portion of the January 22, 2015 Mortgage

      Account Statement is as follows:




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60.   Ocwen was served notice from the Bankruptcy Noticing Center that the Second

      Mortgage was discharged in Plaintiffs’ Bankruptcy.

61.   Accordingly, Ocwen had actual notice that the Second Mortgage was

      discharged in Plaintiffs’ Bankruptcy.




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62.   As Ocwen had actual notice that the Second Mortgage was discharged in

      Plaintiffs’ Bankruptcy, Ocwen knew, or should have known, that the

      information in the Mortgage Account Statements it sent to Scott Estep was false,

      deceptive, and misleading.

63.   Ocwen’s Mortgage Account Statements and requests for payment recklessly

      disregarded this fact and the legal limitations imposed on its conduct.

64.   Ocwen’s Mortgage Account Statements and requests for payment were and are

      false and blatant misrepresentations to Scott Estep of the character, amount, and

      legal status of the discharged Second Mortgage debt.

65.   Ocwen made the foregoing misrepresentations regarding the character, amount,

      and legal status of the discharged Second Mortgage debt to Scott Estep in

      connection with Ocwen’s attempts to collect the discharged Second Mortgage

      debt.

66.   Despite having actual knowledge that Scott Estep’s personal liability for the

      Second Mortgage debt was discharged in Plaintiffs’ Bankruptcy, Ocwen

      continued to represent to Scott Estep that he was personally liable for the Second




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      Mortgage, and continued to attempt to collect on the Second Mortgage from

      Scott Estep.

67.   Accordingly, Ocwen’s conduct was willful.

      Ocwen’s Referral of The Second Mortgage to Nationwide

68.   Upon information and belief, in or around February 2016, Ocwen referred the

      Second Mortgage account to Nationwide for collections, in furtherance of

      Ocwen’s attempts to collect the discharged Second Mortgage debt.

69.   In referring the Second Mortgage to Nationwide for collection, Ocwen

      represented to Nationwide that Scott Estep was still personally liable for the

      Second Mortgage debt.

70.   Because the Second Mortgage was discharged in Plaintiffs’ Bankruptcy, the

      representation described above was both false and misleading.

71.   Ocwen was served notice from the Bankruptcy Noticing Center that the Second

      Mortgage was discharged in Plaintiffs’ Bankruptcy.

72.   As such, Ocwen knew, or should have known, that its representation to

      Nationwide that Scott Estep was still personally liable for the Second Mortgage

      debt was false, deceptive, and misleading.

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73.   In representing to Nationwide that Scott Estep owes money that he does not

      owe, Ocwen’s representations were and are false and blatant misrepresentation

      of the character, amount, and legal status of the discharged Second Mortgage

      debt.

74.   Ocwen made the foregoing misrepresentations regarding the character, amount,

      and legal status of the discharged Second Mortgage debt to Nationwide in

      connection with Ocwen’s attempts to collect the discharged Second Mortgage

      debt.

75.   Despite having actual knowledge that Scott Estep’s personal liability for the

      Second Mortgage was discharged in Plaintiffs’ Bankruptcy, Ocwen represented

      to Nationwide that Scott Estep was still personally liable for the Second

      Mortgage, and continued to attempt to collect on the Second Mortgage from

      Scott Estep.

76.   Accordingly, Ocwen’s conduct was willful.

      Scott Estep’s Equifax Consumer Reports

77.   On or about December 22, 2015, Scott Estep obtained a copy of his consumer

      report as published by Equifax.

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78.   That report contained erroneous information as provided by Ocwen and

      published and reported by Equifax. Specifically, the report stated that the

      Second Mortgage had a balance of $15,991.00, a past due balance of $1,877.00,

      a date of first delinquency of July, 2015, and was 120 days past due. A true and

      correct copy of the Ocwen Second Mortgage tradeline as it appeared in the

      December 22, 2015, Equifax report is as follows:




79.   Because the Second Mortgage was discharged in Plaintiffs’ Bankruptcy, the

      information described above was both false and misleading.

80.   In representing to Equifax that Scott Estep owes money that he does not owe,

      Ocwen’s representations were and are false and blatant misrepresentation of the

      character, amount, and legal status of the discharged Second Mortgage debt.



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81.   Ocwen made the foregoing misrepresentations regarding the character, amount,

      and legal status of the discharged Second Mortgage debt to Equifax in

      connection with Ocwen’s attempts to collect the discharged Second Mortgage

      debt.

82.   In a letter dated February 9, 2016, Scott Estep disputed the inaccurate and

      misleading information directly to Equifax, and advised Equifax of the specific

      facts that rendered the reporting inaccurate and misleading.

83.   In a document dated February 18, 2016, Equifax advised Scott Estep that it had

      researched his dispute and that the revised report reflected its findings. Equifax

      provided a copy of the Ocwen Second Mortgage tradeline as reported that

      reproduced the delinquency errors identified by Scott Estep in his original

      dispute letter.

84.   The Ocwen tradeline on the Equifax reinvestigation report also now indicated

      that the Second Mortgage had been charged off in July of 2011. A true and

      correct copy of the Ocwen Second Mortgage tradeline as it appeared in the

      February 18, 2016, Equifax reinvestigation report is as follows:




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85.   Ocwen’s representations to Equifax that the Second Mortgage debt was still 120

      days past due, and had been charged off in in July 2011, was a blatant

      misrepresentation regarding the legal status of the discharged Second Mortgage

      debt.

86.   Ocwen made the foregoing misrepresentation Equifax in connection with

      Ocwen’s attempts to collect the discharged Second Mortgage debt.

87.   There is no indication in the tradeline of the “verified” Equifax reinvestigation

      report that Scott Estep disputed the information reported and published by

      Equifax and Ocwen.

88.   Equifax had a duty to notify Ocwen of Scott Estep’s dispute.

89.   Equifax had a duty to conduct a reasonable reinvestigation to determine whether

      the information Scott Estep disputed was inaccurate, and to edit, modify or

      delete that information accordingly.



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90.   After receiving notice of Scott Estep’s dispute from Equifax, Ocwen had a duty

      to conduct an investigation with respect to the disputed information, a duty to

      review all relevant information provided by Equifax, and a duty to report the

      results of its investigation to Equifax.

91.   Upon information and belief, Equifax timely notified Ocwen of Scott Estep's

      dispute, as required by 11 U.S.C. § 1681i.

92.   Equifax and Ocwen, independently and jointly, breached their duties as

      described herein.

93.   Equifax and Ocwen both had actual notice that the information they were

      reporting regarding Scott Estep and the Second Mortgage was false, deceptive,

      and misleading.

94.   Equifax and Ocwen both failed to correct their false, deceptive, and misleading

      reporting as described herein.

95.   Equifax and Ocwen both continued to report the false, deceptive, and misleading

      information regarding Scott Estep and the Second Mortgage.

37.   Accordingly, Equifax’s and Ocwen’s conduct was willful.

      Scott Estep’s Experian Reports

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96.   On or about December 18, 2015, Scott Estep obtained a copy of his consumer

      report as published by Experian.

97.   That report contained erroneous information as provided by BOA and published

      and reported by Experian. Specifically, the report stated that the First Mortgage

      was discharged in his bankruptcy. A true and correct copy of the BOA First

      Mortgage tradeline as it appeared in the December 18, 2015, Experian report is

      as follows:




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98.   Because the First Mortgage was provided for in Plaintiffs’ Chapter 13 Plan, and

      not discharged in the Bankruptcy, the information described above was both

      false and misleading.

99.   The December 18, 2015 Experian report also contained erroneous information

      as provided by Ocwen and published and reported by Experian. Specifically, the

      report stated that the Second Mortgage had a balance of $15,991.00, a past due

      balance of $1,877.00, and was charged off. A true and correct copy of the

      Ocwen Second Mortgage tradeline as it appeared in the December 18, 2015,

      Experian report is as follows:




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100. Because the Second Mortgage was discharged in Plaintiffs’ Bankruptcy, the

      information described above was both false and misleading.

101. In representing to Experian that Scott Estep owes money that he does not owe,

      Ocwen’s representations were and are false and blatant misrepresentation of the

      character, amount, and legal status of the discharged Second Mortgage debt.

102. Ocwen made the foregoing misrepresentations regarding the character, amount,

      and legal status of the discharged Second Mortgage debt to Experian in

      connection with Ocwen’s attempts to collect the discharged Second Mortgage

      debt.

103. In a letter dated December 21, 2015, Scott Estep disputed the inaccurate and

      misleading information directly to Experian and advised Experian of the

      specific facts that rendered the reporting inaccurate and misleading.

104. In a document dated February 1, 2016, Experian advised Scott Estep that it had

      researched his dispute and that the revised report reflected its findings.

105. Experian provided a copy of the BOA First Mortgage tradeline as reported that

      reproduced the errors identified by the Scott Estep in his original dispute letter.

      Specifically, the tradeline still stated that the First Mortgage was discharged in

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      bankruptcy. A true and correct copy of the BOA First Mortgage tradeline as it

      appeared in the February 1, 2016 Experian reinvestigation report is as follows:




106. In the February 1, 2016 reinvestigation report, Experian also provided a copy of

      the Ocwen Second Mortgage tradeline as reported that continued to show the

      account as having been charged off. A true and correct copy of the Ocwen

      Second Mortgage tradeline as it appeared in the February 1, 2016 Experian

      reinvestigation report is as follows:




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107. Ocwen’s representations to Experian that the Second Mortgage debt had been

      charged off, as opposed to discharged in bankruptcy, was a blatant

      misrepresentation regarding the legal status of the discharged Second Mortgage

      debt.

108. Ocwen made the foregoing misrepresentation regarding the legal status of the

      discharged Second Mortgage debt to Experian in connection with Ocwen’s

      attempts to collect the discharged Second Mortgage debt.

109. Experian had a duty to notify Ocwen and BOA of Scott Estep’s dispute.

110. Experian had a duty to conduct a reasonable reinvestigation to determine

      whether the information Scott Estep disputed was inaccurate, and to edit, modify

      or delete the disputed information accordingly.

111. After receiving notice of Scott Estep’s dispute from Experian, Ocwen had a duty

      to conduct an investigation with respect to the disputed information, a duty to

      review all relevant information provided by Experian, and a duty to report the

      results of its investigation to Experian.

112. After receiving notice of Scott Estep’s dispute from Experian, BOA had a duty

      to conduct an investigation with respect to the disputed information, a duty to

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      review all relevant information provided by Experian, and a duty to report the

      results of its investigation to Experian.

113. Upon information and belief, Experian timely notified Ocwen and BOA of Scott

      Estep’s disputes, as required by 11 U.S.C. § 1681i.

114. Experian, BOA, and Ocwen, independently and jointly, breached their duties as

      described herein.

115. Experian and BOA both had actual notice that the information they were

      reporting regarding Scott Estep and the First Mortgage was false, deceptive, and

      misleading.

116. Experian and Ocwen both had actual notice that the information they were

      reporting regarding Scott Estep and the Second Mortgage was false, deceptive,

      and misleading.

117. Experian, BOA, and Ocwen each failed to correct their false, deceptive, and

      misleading reporting as described herein.

118. Experian and BOA both continued to report the false, deceptive, and misleading

      information regarding Scott Estep and the First Mortgage.




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119. Experian and Ocwen both continued to report the false, deceptive, and

      misleading information regarding Scott Estep and the Second Mortgage.

120. Accordingly, Experian’s, BOA’s, and Ocwen’s conduct was willful.

      Debra Estep’s Experian Reports

121. On or about December 18, 2015, Debra Estep obtained a copy of her consumer

      report as published by Experian.

122. That report contained erroneous information as provided by BOA and published

      and reported by Experian. Specifically, the report stated that the First Mortgage

      was discharged in his bankruptcy. A true and correct copy of the First Mortgage

      tradeline as it appeared in the December 18, 2015 Experian report is as follows:




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123. Because the First Mortgage was provided for in Plaintiffs’ Chapter 13 Plan, and

      was not discharged in the Bankruptcy, the information described above was both

      false and misleading.

124. In a letter dated December 21, 2015, Debra Estep disputed the inaccurate and

      misleading information directly to Experian and advised Experian of the

      specific facts that rendered the reporting inaccurate and misleading.

125. In a document dated January 21, 2016, Experian advised Debra Estep that it had

      researched her dispute and that the revised report reflected its findings. Experian

      provided a copy of the BOA First Mortgage tradeline as reported that

      reproduced the errors identified by Debra Estep in her original dispute letter. A

      true and correct copy of the BOA First Mortgage tradeline as it appeared in the

      January 21, 2016 Experian reinvestigation report is as follows:




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126. Experian had a duty to notify BOA of Debra Estep’s dispute.

127. Experian had a duty to conduct a reasonable reinvestigation to determine

      whether the information Debra Estep disputed was inaccurate, and to edit,

      modify, or delete that information accordingly.

128. After receiving notice of Debra Estep’s dispute from Experian, BOA had a duty

      to conduct an investigation with respect to the disputed information, a duty to

      review all relevant information provided by Experian, and a duty to report the

      results of its investigation to Experian.

129. Upon information and belief, Experian timely notified BOA of Debra Estep's

      dispute, as required by 11 U.S.C. § 1681i.

130. Experian and BOA independently and jointly, breached their duties as described

      herein.


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131. Experian and BOA both had actual notice that the information they were

      reporting regarding Debra Estep and the First Mortgage was false, deceptive,

      and misleading.

132. Experian and BOA both failed to correct their false, deceptive, and misleading

      reporting as described herein.

133. Experian and BOA both continued to report the false, deceptive, and misleading

      information regarding Debra Estep and the First Mortgage.

134. Accordingly, Experian’s and BOA’s conduct was willful.

      Nationwide’s Collection Letter Mailed to Scott Estep

135. On or about March 3, 2016, Nationwide sent Scott Estep a debt collection letter,

      via US Mail, in an attempt to collect the discharged Second Mortgage debt. A

      true and correct copy of the relevant portion of the March 3, 2016 Nationwide

      debt collection letter is as follows:




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136. In the March 3, 2016 letter, Nationwide represented to Scott Estep that he owed

      a balance on the Second Mortgage in the amount of $16,869.88, and that said

      amount was due immediately.




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137. In the March 3, 2016 letter, Nationwide further stated that it would agree to

      release any and all claims and damages against Scott Estep if he would make

      payment to Nationwide in the amount of $16,869.88 by March 31, 2016.

138. Nationwide represented to Scott Estep that he was still personally liable for the

      Second Mortgage debt.

139. Nationwide’s statement that it would agree to release any and all claims and

      damages against Scott Estep constituted a threat to take action that could not

      legally be taken.

140. Because the Second Mortgage was discharged in Plaintiffs’ Bankruptcy,

      Nationwide’s statements, representations and threat regarding the Second

      Mortgage described above were false, deceptive, and misleading.

141. Nationwide’s representations to Scott Estep that he was still personally liable

      for the discharged Second Mortgage debt in the amount of $16,869.88, and that

      Nationwide could pursue claims and damages against him, were blatant

      misrepresentations regarding the legal status of the discharged Second Mortgage

      debt.




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142. Nationwide made the threat and misrepresentations described above in

      connection with Nationwide’s attempts to collect the discharged Second

      Mortgage debt.

143. Nationwide knew, or should have known, that Scott Estep’s personal liability

      for the Second Mortgage was discharged in Plaintiffs’ Bankruptcy.

144. Nationwide knew, or should have known, that its representations regarding the

      character, amount and legal status of the Second Mortgage were false,

      deceptive, and misleading.

145. Nationwide knew, or should have known, that its threat to pursue claims or

      damages against Scott Estep constituted a threat to take action that could not

      legally be taken.

146. Despite having knowledge that Scott Estep had no personal liability for the

      Second Mortgage, and that its representations regarding the character, amount

      and legal status of the Second Mortgage were false, Nationwide made the

      aforementioned false representations and threat in an attempt to coerce Scott

      Estep into making a payment.

147. Accordingly, Nationwide’s conduct was willful.

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      Damages

148. As a result of the Defendants’ actions and omissions, Plaintiffs have been

      harmed.

149. As a result of the Defendants’ actions and omissions, Plaintiffs are eligible for

      statutory damages.

150. As a result of the Defendants’ actions and omissions, Plaintiffs have suffered

      actual damages, including out-of-pocket expenses in challenging the

      Defendants’ wrongful representations regarding the First Mortgage and Second

      Mortgage, as well as frustration and aggravation resulting from the Defendants’

      false, deceptive and misleading representations.

151. As a result of Ocwen’s actions and omissions, Scott Estep has felt unfairly

      pursued, harassed, and annoyed.

152. As a result of Nationwide’s actions and omissions, Scott Estep has felt unfairly

      pursued, harassed, and annoyed.

153. As a result of the actions and omissions of Equifax, Experian, Ocwen, and BOA,

      Plaintiffs’ actual damages also include the illegitimate suppression of their Fair

      Isaac Corporation (“FICO”) credit scores and other credit rating model scores.

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154. Moreover, Equifax’s, Experian’s, Ocwen’s, and BOA’s failures to correct and

      clear their false, deceptive, and misleading reporting creates a material risk of

      financial harm to Plaintiffs, stemming from the decreased perception of

      Plaintiffs’ credit-worthiness.

                                  TRIAL BY JURY

155. Plaintiffs are entitled to and hereby request a trial by jury.

                               CAUSES OF ACTION

                                       COUNT I

          VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                    15 U.S.C. §§ 1681e(b) and 1681i
                  (Equifax Information Services, LLC)

156. Plaintiffs incorporate by reference the preceding paragraphs as though fully

      stated herein.

157. Pursuant to 15 U.S.C. § 1681e(b), Equifax is responsible for following

      reasonable procedures to assure maximum possible accuracy of information

      whenever it prepares consumer reports.

158. Equifax’s duty under 15 U.S.C. § 1681e(b) extends to reinvestigation reports

      and consumer disclosures.


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159. Pursuant to 15 U.S.C. § 1681i(a)(1)(A), Equifax had an affirmative duty to

      independently investigate Scott Estep’s dispute of the Ocwen Second Mortgage

      Tradeline.

160. Pursuant to 15 U.S.C. § 1681i(a)(2), Equifax was required to communicate the

      specifics of Scott Estep’s dispute to Ocwen.

161. A consumer reporting agency’s reasonable reinvestigation must be a good faith

      effort to ascertain the truth; a reasonable reinvestigation must answer the

      substance of the consumer’s dispute, and may not merely be a pro forma record

      review that simply begs the question.

162. In order to conduct a reasonable reinvestigation, and pursuant to 15 U.S.C. §

      1681i(a)(4), Equifax was required to review and consider all relevant

      information submitted by Scott Estep.

163. Scott Estep’s dispute was clear and unambiguous as to the inaccuracies of

      Equifax’s reporting of the Ocwen Second Mortgage tradeline.

164. Scott Estep provided all the relevant information necessary to Equifax to

      reinvestigate and correct the inaccuracies in its reporting.

165. Equifax breached its duties as described herein.

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166. If Equifax had conducted a reasonable reinvestigation of Scott Estep’s dispute,

      Equifax would have reviewed and considered all of the information Scott Estep

      submitted in his dispute letter, and would have easily detected that what was

      being reported was factually incorrect, inaccurate, and misleading.

167. If Equifax had conducted a reasonable reinvestigation of Scott Estep’s dispute,

      the Ocwen Second Mortgage tradeline on his Equifax consumer report would

      have been appropriately corrected.

168. Due to Equifax’s failures to follow reasonable procedures to assure maximum

      possible accuracy of information, and failures to conduct reasonable

      reinvestigations of Scott Estep’s dispute, the false and misleading Ocwen

      Second Mortgage tradeline information in his credit file and on his Equifax

      report was not appropriately edited, modified, or deleted.

169. Equifax had all the information necessary to correct its reporting. Yet, Equifax

      failed to correct the Ocwen Second Mortgage tradeline information in the face

      of clear evidence that its reporting was false and misleading. That failure

      indicates that Equifax’s review procedures were not reasonable.




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170. The fact that Equifax had all the information necessary to correct its reporting,

      yet failed to do so in an appropriate manner, further indicates that Equifax

      recklessly disregarded Scott Estep’s dispute, the requirements of the FCRA, and

      the recorded Bankruptcy discharge, amounting to a willful violation of the

      statute.

171. Equifax willfully, or in the alternative negligently, violated 15 U.S.C. §

      1681e(b) by failing to follow reasonable procedures to assure the maximum

      possible accuracy of information concerning Scott Estep in his consumer

      reports, in reckless disregard of the statutory requirements, Scott Estep’s

      dispute, and the publicly recorded bankruptcy filings.

172. Equifax willfully, or in the alternative negligently, violated 15 U.S.C. § 1681i

      in multiple ways, including without limitation, by failing to conduct a

      reasonable reinvestigation of Scott Estep’s dispute, and by failing thereafter to

      appropriately edit, modify, or delete the Ocwen Second Mortgage tradeline

      information in his file and on his consumer report in reckless disregard of the

      statutory requirements, Scott Estep’s dispute, and the publicly recorded

      bankruptcy filings.

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173. As a result of Equifax’s violations of 15 U.S.C. §§ 1681e(b) and 1681i, Scott

      Estep has suffered actual damages as described herein. Scott Estep is, therefore,

      entitled to recover actual damages from Equifax pursuant to 15 U.S.C. §§ 1681n

      and 1681o.

174. Equifax’s actions and omissions were willful, rendering Equifax liable to Scott

      Estep for punitive damages and/or statutory damages pursuant to 15 U.S.C. §

      1681n.

175. Scott Estep is entitled to recover costs and attorneys’ fees from Equifax pursuant

      to 15 U.S.C. §§ 1681n and 1681o.

                                     COUNT II

         VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                    15 U.S.C. §§ 1681e(b) and 1681i
                 (Experian Information Solutions, Inc.)

176. Plaintiffs incorporate by reference the preceding paragraphs as though fully

      stated herein.

177. Pursuant to 15 U.S.C. § 1681e(b), Experian is responsible for following

      reasonable procedures to assure maximum possible accuracy of information

      whenever it prepares consumer reports.


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178. Experian’s duty under 15 U.S.C. § 1681e(b) extends to reinvestigation reports

      and consumer disclosures.

179. Pursuant to 15 U.S.C. § 1681i(a)(1)(A), Experian had an affirmative duty to

      independently investigate the Ocwen Second Mortgage tradeline dispute

      submitted by Scott Estep.

180. Pursuant to 15 U.S.C. § 1681i(a)(2), Experian was required to communicate the

      specifics of Scott Estep’s dispute to Ocwen.

181. A consumer reporting agency’s reasonable reinvestigation must be a good faith

      effort to ascertain the truth; a reasonable reinvestigation must answer the

      substance of the consumer’s dispute, and may not merely be a pro forma record

      review that simply begs the question.

182. In order to conduct a reasonable reinvestigation, and pursuant to 15 U.S.C. §

      1681i(a)(4), Experian was required to review and consider all relevant

      information submitted by Scott Estep.

183. Scott Estep’s dispute was clear and unambiguous as to the inaccuracies of

      Experian’s reporting of the Ocwen Second Mortgage tradeline.




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184. Scott Estep provided all the relevant information necessary to Experian to

      reinvestigate and correct the inaccuracies in its reporting.

185. Experian breached its duties as described herein.

186. If Experian had conducted a reasonable reinvestigation of Scott Estep’s dispute

      of the Ocwen Second Mortgage tradeline, Experian would have reviewed and

      considered all of the information Scott Estep submitted in his dispute letter, and

      would have easily detected that what was being reported was factually incorrect,

      inaccurate, and misleading.

187. If Experian had conducted a reasonable reinvestigation of Scott Estep’s dispute,

      the Ocwen Second Mortgage tradeline on his Experian consumer report would

      have been appropriately corrected.

188. Due to Experian’s failures to follow reasonable procedures to assure maximum

      possible accuracy of information, and failures to conduct reasonable

      reinvestigations of Scott Estep’s dispute of the Ocwen Second Mortgage

      tradeline, the false and misleading information in his credit file and on his

      Experian report was not appropriately modified.




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189. Experian had all the information necessary to correct its reporting. Yet, Experian

      failed to correct the Ocwen Second Mortgage tradeline information in the face

      of clear evidence that its reporting was false and misleading. That failure

      indicates that Experian’s review procedures were not reasonable.

190. The fact that Experian had all the information necessary to correct its reporting,

      yet failed to do so in an appropriate manner, further indicates that Experian

      recklessly disregarded Scott Estep’s dispute, the requirements of the FCRA, and

      the publicly recorded bankruptcy discharge, amounting to a willful violation of

      the statute.

191. Experian willfully, or in the alternative negligently, violated 15 U.S.C. §

      1681e(b) by failing to follow reasonable procedures to assure the maximum

      possible accuracy of information concerning Scott Estep in his consumer

      reports, in reckless disregard of the statutory requirements, Scott Estep’s

      dispute, and the publicly recorded bankruptcy filings.

192. Experian willfully, or in the alternative negligently, violated 15 U.S.C. § 1681i

      in multiple ways, including without limitation, by failing to conduct a

      reasonable reinvestigation of Scott Estep’s dispute, and by failing thereafter to

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      appropriately edit, modify, or delete the Ocwen Second Mortgage tradeline

      information in his file and on his consumer report, in reckless disregard of the

      statutory requirements, Scott Estep’s dispute, and the publicly recorded

      bankruptcy filings.

193. As a result of Experian’s violations of 15 U.S.C. §§ 1681e(b) and 1681i, Scott

      Estep has suffered actual damages as described herein. Scott Estep is, therefore,

      entitled to recover actual damages from Experian pursuant to 15 U.S.C. §§

      1681n and 1681o.

194. Experian’s actions and omissions were willful, rendering Experian liable to

      Scott Estep for punitive damages and/or statutory damages pursuant to 15

      U.S.C. § 1681n.

195. Scott Estep is entitled to recover costs and attorneys’ fees from Experian

      pursuant to 15 U.S.C. §§ 1681n and 1681o.

                                    COUNT III

         VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                    15 U.S.C. §§ 1681e(b) and 1681i
                 (Experian Information Solutions, Inc.)




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196. Plaintiffs incorporate by reference the preceding paragraphs as though fully

      stated herein.

197. Pursuant to 15 U.S.C. § 1681e(b), Experian is responsible for following

      reasonable procedures to assure maximum possible accuracy of information

      whenever it prepares consumer reports.

198. Experian’s duty under 15 U.S.C. § 1681e(b) extends to reinvestigation reports

      and consumer disclosures.

199. Pursuant to 15 U.S.C. § 1681i(a)(1)(A), Experian had an affirmative duty to

      independently investigate the BOA First Mortgage tradeline dispute submitted

      by Scott Estep.

200. Pursuant to 15 U.S.C. § 1681i(a)(2), Experian was required to communicate the

      specifics of Scott Estep’s dispute to BOA.

201. A consumer reporting agency’s reasonable reinvestigation must be a good faith

      effort to ascertain the truth; a reasonable reinvestigation must answer the

      substance of the consumer’s dispute, and may not merely be a pro forma record

      review that simply begs the question.




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202. In order to conduct a reasonable reinvestigation, and pursuant to 15 U.S.C. §

      1681i(a)(4), Experian was required to review and consider all relevant

      information submitted by Scott Estep.

203. Scott Estep’s dispute was clear and unambiguous as to the inaccuracies of

      Experian’s reporting of the BOA First Mortgage tradeline.

204. Scott Estep provided all the relevant information necessary to Experian to

      reinvestigate and correct the inaccuracies in its reporting.

205. Experian breached its duties as described herein.

206. If Experian had conducted a reasonable reinvestigation of Scott Estep’s dispute

      of the BOA First Mortgage tradeline, Experian would have reviewed and

      considered all of the information Scott Estep submitted in his dispute letter, and

      would have easily detected that what was being reported was factually incorrect,

      inaccurate, and misleading.

207. If Experian had conducted a reasonable reinvestigation of Scott Estep’s dispute,

      the BOA First Mortgage tradeline on his Experian consumer report would have

      been appropriately corrected.




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208. Due to Experian’s failures to follow reasonable procedures to assure maximum

      possible accuracy of information, and failures to conduct reasonable

      reinvestigations of Scott Estep’s dispute of the BOA First Mortgage tradeline,

      the false and misleading information in his credit file and on his Experian report

      was not appropriately modified.

209. Experian had all the information necessary to correct its reporting. Yet, Experian

      failed to correct the BOA First Mortgage tradeline information in the face of

      clear evidence that its reporting was false and misleading. That failure indicates

      that Experian’s review procedures were not reasonable.

210. The fact that Experian had all the information necessary to correct its reporting,

      yet failed to do so in an appropriate manner, further indicates that Experian

      recklessly disregarded Scott Estep’s dispute and the requirements of the FCRA,

      amounting to a willful violation of the statute.

211. Experian willfully, or in the alternative negligently, violated 15 U.S.C. §

      1681e(b) by failing to follow reasonable procedures to assure the maximum

      possible accuracy of information concerning Scott Estep in his consumer




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      reports, in reckless disregard of the statutory requirements, Scott Estep’s

      dispute, and the publicly recorded bankruptcy filings.

212. Experian willfully, or in the alternative negligently, violated 15 U.S.C. § 1681i

      in multiple ways, including without limitation, by failing to conduct a

      reasonable reinvestigation of Scott Estep’s dispute, and by failing thereafter to

      appropriately edit, modify, or delete the BOA First Mortgage tradeline

      information in his file and on his consumer report, in reckless disregard of the

      statutory requirements, Scott Estep’s dispute, and the publicly recorded

      bankruptcy filings.

213. As a result of Experian’s violations of 15 U.S.C. §§ 1681e(b) and 1681i, Scott

      Estep has suffered actual damages as described herein. Scott Estep is, therefore,

      entitled to recover actual damages from Experian pursuant to 15 U.S.C. §§

      1681n and 1681o.

214. Experian’s actions and omissions were willful, rendering Experian liable to

      Scott Estep for punitive damages and/or statutory damages pursuant to 15

      U.S.C. § 1681n.




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215. Scott Estep is entitled to recover costs and attorneys’ fees from Experian

      pursuant to 15 U.S.C. §§ 1681n and 1681o.

                                   COUNT IV

         VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                    15 U.S.C. §§ 1681e(b) and 1681i
                 (Experian Information Solutions, Inc.)

216. Plaintiffs incorporate by reference the preceding paragraphs as though fully

      stated herein.

217. Pursuant to 15 U.S.C. § 1681e(b), Experian is responsible for following

      reasonable procedures to assure maximum possible accuracy of information

      whenever it prepares consumer reports.

218. Experian’s duty under 15 U.S.C. § 1681e(b) extends to reinvestigation reports

      and consumer disclosures.

219. Pursuant to 15 U.S.C. § 1681i(a)(1)(A), Experian had an affirmative duty to

      independently investigate the BOA First Mortgage tradeline dispute submitted

      by Debra Estep.

220. Pursuant to 15 U.S.C. § 1681i(a)(2), Experian was required to communicate the

      specifics of Debra Estep’s dispute to BOA.


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221. A consumer reporting agency’s reasonable reinvestigation must be a good faith

      effort to ascertain the truth; a reasonable reinvestigation must answer the

      substance of the consumer’s dispute, and may not merely be a pro forma record

      review that simply begs the question.

222. In order to conduct a reasonable reinvestigation, and pursuant to 15 U.S.C. §

      1681i(a)(4), Experian was required to review and consider all relevant

      information submitted by Debra Estep.

223. Debra Estep’s dispute was clear and unambiguous as to the inaccuracies of

      Experian’s reporting of the BOA First Mortgage tradeline.

224. Debra Estep provided all the relevant information necessary to Experian to

      reinvestigate and correct the inaccuracies in its reporting.

225. Experian breached its duties as described herein.

226. If Experian had conducted a reasonable reinvestigation of Debra Estep’s dispute

      of the BOA First Mortgage tradeline, Experian would have reviewed and

      considered all of the information Debra Estep submitted in her dispute letter,

      and would have easily detected that what was being reported was factually

      incorrect, inaccurate, and misleading.

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227. If Experian had conducted a reasonable reinvestigation of Debra Estep’s

      dispute, the BOA First Mortgage tradeline on her Experian consumer report

      would have been appropriately corrected.

228. Due to Experian’s failures to follow reasonable procedures to assure maximum

      possible accuracy of information, and failures to conduct reasonable

      reinvestigations of Debra Estep’s dispute of the BOA First Mortgage tradeline,

      the false and misleading information in her credit file and on her Experian report

      was not appropriately modified.

229. Experian had all the information necessary to correct its reporting. Yet, Experian

      failed to correct the BOA First Mortgage tradeline information in the face of

      clear evidence that its reporting was false and misleading. That failure indicates

      that Experian’s review procedures were not reasonable.

230. The fact that Experian had all the information necessary to correct its reporting,

      yet failed to do so in an appropriate manner, further indicates that Experian

      recklessly disregarded Debra Estep’s dispute and the requirements of the FCRA,

      amounting to a willful violation of the statute.




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231. Experian willfully, or in the alternative negligently, violated 15 U.S.C. §

      1681e(b) by failing to follow reasonable procedures to assure the maximum

      possible accuracy of information concerning Debra Estep in her consumer

      reports, in reckless disregard of the statutory requirements, Debra Estep’s

      dispute, and the publicly recorded bankruptcy filings.

232. Experian willfully, or in the alternative negligently, violated 15 U.S.C. § 1681i

      in multiple ways, including without limitation, by failing to conduct a

      reasonable reinvestigation of Debra Estep’s dispute, and by failing thereafter to

      appropriately edit, modify, or delete the BOA First Mortgage tradeline

      information in her file and on her consumer report, in reckless disregard of the

      statutory requirements, Debra Estep’s dispute, and the publicly recorded

      bankruptcy filings.

233. As a result of Experian’s violations of 15 U.S.C. §§ 1681e(b) and 1681i, Debra

      Estep has suffered actual damages as described herein. Debra Estep is, therefore,

      entitled to recover actual damages from Experian pursuant to 15 U.S.C. §§

      1681n and 1681o.




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234. Experian’s actions and omissions were willful, rendering Experian liable to

      Debra Estep for punitive damages and/or statutory damages pursuant to 15

      U.S.C. § 1681n.

235. Debra Estep is entitled to recover costs and attorneys’ fees from Experian

      pursuant to 15 U.S.C. §§ 1681n and 1681o.

                                   COUNT V

        VIOLATIONS OF THE FAIR CREDIT REPORTING ACT,
                      15 U.S.C. § 1681s-2(b)
                  (Bank of America Corporation)

236. Plaintiffs incorporate by reference the preceding paragraphs as though fully

      stated herein.

237. Pursuant to 15 U.S.C. § 1681s-2(a), BOA is responsible for providing accurate

      information whenever it furnishes information to any consumer reporting

      agencies.

238. Upon information and belief, Experian timely notified BOA of Scott Estep’s

      dispute, and provided BOA with all the relevant information that Scott Estep

      had submitted.




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239. Pursuant to 15 U.S.C. § 1681s-2(b), BOA had a duty to investigate Scott Estep’s

      dispute and accurately report its findings to Experian.

240. A furnisher’s investigation must each be a good faith effort to ascertain the truth;

      a reasonable investigation must answer the substance of the consumer’s dispute,

      and may not merely be a pro forma record review that simply begs the question.

241. In order to conduct a reasonable investigation, and pursuant to 15 U.S.C. §

      1681s-2(b), BOA was required to review and consider all relevant information

      submitted by Scott Estep to Experian.

242. Scott Estep’s dispute regarding the BOA First Mortgage tradeline was clear and

      unambiguous as to the inaccuracies of in the reporting of the BOA First

      Mortgage tradeline.

243. Scott Estep provided all the relevant information necessary for BOA to

      investigate and correct the discrepancies in the reporting of the BOA First

      Mortgage tradeline.

244. BOA breached its duties as described herein.

245. If BOA had conducted a reasonable investigation of Scott Estep’s dispute, BOA

      would have reviewed and considered all of the information Scott Estep

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      submitted to Experian in his dispute, and would have easily detected that what

      it was reporting regarding the BOA First Mortgage tradeline was factually

      incorrect, inaccurate, and misleading.

246. If BOA had conducted a reasonable investigation of Scott Estep’s dispute, the

      BOA First Mortgage tradeline on Scott Estep’s consumer report would have

      been corrected accordingly.

247. Due to BOA’s failures to provide accurate information, and failures to conduct

      reasonable investigations of Scott Estep’s dispute, the false and misleading

      information in his credit file and on his consumer reports as described herein

      was not appropriately edited, modified, or deleted.

248. BOA had all the information necessary to correct its reporting. Yet, BOA failed

      to appropriately correct its reporting in the face of clear evidence that it was false

      and misleading. That failure indicates that BOA’s review procedures were not

      reasonable.

249. The fact that BOA had all the information necessary to correct its reporting, yet

      failed to appropriately do so, further indicates that BOA recklessly disregarded




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      Scott Estep’s dispute and the requirements of the FCRA, amounting to a willful

      violation of the statute.

250. BOA willfully, or in the alternative negligently, violated 15 U.S.C. § 1681s-2(b)

      by failing to conduct a reasonable investigation upon receiving notice of Scott

      Estep’s dispute from Experian, by failing to consider all of the information Scott

      Estep submitted to Experian in his dispute, by failing to appropriately report the

      results of its investigation, and/or by failing to appropriately edit, modify, or

      delete the disputed information, in reckless disregard of the statutory

      requirements, Scott Estep’s dispute, and the publicly recorded bankruptcy

      filings.

251. As a result of BOA’s violations of 15 U.S.C. § 1681s-2(b), Scott Estep has

      suffered actual damages as stated herein. Scott Estep is, therefore, entitled to

      recover actual damages from BOA under 15 U.S.C. §§ 1681n and 1681o.

252. BOA’s actions and omissions were willful, rendering BOA liable to Scott Estep

      for punitive damages and/or statutory damages pursuant to 15 U.S.C. § 1681n.

253. Scott Estep is entitled to recover costs and attorneys’ fees from BOA pursuant

      to 15 U.S.C. §§ 1681n and 1681o.

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                                     COUNT VI

         VIOLATIONS OF THE FAIR CREDIT REPORTING ACT,
                       15 U.S.C. § 1681s-2(b)
                   (Bank of America Corporation)

254. Plaintiffs incorporate by reference the preceding paragraphs as though fully

      stated herein.

255. Pursuant to 15 U.S.C. § 1681s-2(a), BOA is responsible for providing accurate

      information whenever it furnishes information to any consumer reporting

      agencies.

256. Upon information and belief, Experian timely notified BOA of Debra Estep’s

      dispute, and provided BOA with all the relevant information that Debra Estep

      had submitted.

257. Pursuant to 15 U.S.C. § 1681s-2(b), BOA had a duty to investigate Scott Estep’s

      dispute and accurately report its findings to Experian.

258. A furnisher’s investigation must each be a good faith effort to ascertain the truth;

      a reasonable investigation must answer the substance of the consumer’s dispute,

      and may not merely be a pro forma record review that simply begs the question.




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259. In order to conduct a reasonable investigation, and pursuant to 15 U.S.C. §

      1681s-2(b), BOA was required to review and consider all relevant information

      submitted by Debra Estep to Experian.

260. Debra Estep’s dispute regarding the BOA First Mortgage tradeline was clear

      and unambiguous as to the inaccuracies of in the reporting of the BOA First

      Mortgage tradeline.

261. Debra Estep provided all the relevant information necessary for BOA to

      investigate and correct the discrepancies in the reporting of the BOA First

      Mortgage tradeline.

262. BOA breached its duties as described herein.

263. If BOA had conducted a reasonable investigation of Debra Estep’s dispute,

      BOA would have reviewed and considered all of the information Debra Estep

      submitted to Experian in her dispute, and would have easily detected that what

      it was reporting regarding the BOA First Mortgage tradeline was factually

      incorrect, inaccurate, and misleading.




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264. If BOA had conducted a reasonable investigation of Debra Estep’s dispute, the

      BOA First Mortgage tradeline on Debra Estep’s consumer report would have

      been corrected accordingly.

265. Due to BOA’s failures to provide accurate information, and failures to conduct

      reasonable investigations of Debra Estep’s dispute, the false and misleading

      information in her credit file and on her consumer reports as described herein

      was not appropriately edited, modified, or deleted.

266. BOA had all the information necessary to correct its reporting. Yet, BOA failed

      to appropriately correct its reporting in the face of clear evidence that it was false

      and misleading. That failure indicates that BOA’s review procedures were not

      reasonable.

267. The fact that BOA had all the information necessary to correct its reporting, yet

      failed to appropriately do so, further indicates that BOA recklessly disregarded

      Debra Estep’s dispute and the requirements of the FCRA, amounting to a willful

      violation of the statute.

268. BOA willfully, or in the alternative negligently, violated 15 U.S.C. § 1681s-2(b)

      by failing to conduct a reasonable investigation upon receiving notice of Debra

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      Estep’s dispute from Experian, by failing to consider all of the information

      Debra Estep submitted to Experian in her dispute, by failing to appropriately

      report the results of its investigation, and/or by failing to appropriately edit,

      modify, or delete the disputed information, in reckless disregard of the statutory

      requirements, Debra Estep’s dispute, and the publicly recorded bankruptcy

      filings.

269. As a result of BOA’s violations of 15 U.S.C. § 1681s-2(b), Debra Estep has

      suffered actual damages as stated herein. Debra Estep is, therefore, entitled to

      recover actual damages from BOA under 15 U.S.C. §§ 1681n and 1681o.

270. BOA’s actions and omissions were willful, rendering BOA liable to Debra Estep

      for punitive damages and/or statutory damages pursuant to 15 U.S.C. § 1681n.

271. Debra Estep is entitled to recover costs and attorneys’ fees from BOA pursuant

      to 15 U.S.C. §§ 1681n and 1681o.

                                    COUNT VII

         VIOLATIONS OF THE FAIR CREDIT REPORTING ACT,
                       15 U.S.C. § 1681s-2(b)
                    (Ocwen Loan Servicing, LLC)




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272. Plaintiffs incorporate by reference the preceding paragraphs as though fully

      stated herein.

273. Pursuant to 15 U.S.C. § 1681s-2(a), Ocwen is responsible for providing accurate

      information whenever it furnishes information to any consumer reporting

      agencies.

274. Upon information and belief, Equifax timely notified Ocwen of Scott Estep’s

      dispute, and provided Ocwen with all the relevant information that Scott Estep

      had submitted.

275. Pursuant to 15 U.S.C. § 1681s-2(b), Ocwen had a duty to investigate Scott

      Estep’s dispute and accurately report its findings to Equifax.

276. A furnisher’s investigation must each be a good faith effort to ascertain the truth;

      a reasonable investigation must answer the substance of the consumer’s dispute,

      and may not merely be a pro forma record review that simply begs the question.

277. In order to conduct a reasonable investigation, and pursuant to 15 U.S.C. §

      1681s-2(b), Ocwen was required to review and consider all relevant information

      submitted by Scott Estep to Equifax.




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278. Scott Estep’s dispute regarding the Ocwen Second Mortgage tradeline was clear

      and unambiguous as to the inaccuracies of in the reporting of the Ocwen Second

      Mortgage tradeline.

279. Scott Estep provided all the relevant information necessary for Ocwen to

      investigate and correct the discrepancies in the reporting of the Ocwen Second

      Mortgage tradeline.

280. Ocwen breached its duties as described herein.

281. If Ocwen had conducted a reasonable investigation of Scott Estep’s dispute,

      Ocwen would have reviewed and considered all of the information Scott Estep

      submitted to Equifax in his dispute, and would have easily detected that what it

      was reporting regarding the Ocwen Second Mortgage tradeline was factually

      incorrect, inaccurate, and misleading.

282. If Ocwen had conducted a reasonable investigation of Scott Estep’s dispute, the

      Ocwen Second Mortgage tradeline on Scott Estep’s consumer report would

      have been corrected accordingly.

283. Due to Ocwen’s failures to provide accurate information, and failures to conduct

      reasonable investigations of Scott Estep’s dispute, the false and misleading

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      information in his credit file and on his consumer reports as described herein

      was not appropriately edited, modified, or deleted.

284. Ocwen had all the information necessary to correct its reporting. Yet Ocwen

      failed to appropriately correct its reporting in the face of clear evidence that it

      was false and misleading. That failure indicates that Ocwen’s review procedures

      were not reasonable.

285. The fact that Ocwen had all the information necessary to correct its reporting,

      yet failed to appropriately do so, further indicates that Ocweb recklessly

      disregarded Scott Estep’s dispute and the requirements of the FCRA, amounting

      to a willful violation of the statute.

286. Ocwen willfully, or in the alternative negligently, violated 15 U.S.C. § 1681s-

      2(b) by failing to conduct a reasonable investigation upon receiving notice of

      Scott Estep’s dispute from Equifax, by failing to consider all of the information

      Scott Estep submitted to Equifax in his dispute, by failing to appropriately report

      the results of its investigation, and/or by failing to appropriately edit, modify, or

      delete the disputed information, in reckless disregard of the statutory




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      requirements, Scott Estep’s dispute, and the publicly recorded bankruptcy

      filings.

287. As a result of Ocwen’s violations of 15 U.S.C. § 1681s-2(b), Scott Estep has

      suffered actual damages as stated herein. Scott Estep is, therefore, entitled to

      recover actual damages from Ocwen under 15 U.S.C. §§ 1681n and 1681o.

288. Ocwen’s actions and omissions were willful, rendering Ocwen liable to Scott

      Estep for punitive damages and/or statutory damages pursuant to 15 U.S.C. §

      1681n.

289. Scott Estep is entitled to recover costs and attorneys’ fees from Ocwen pursuant

      to 15 U.S.C. §§ 1681n and 1681o.

                                   COUNT VIII

         VIOLATIONS OF THE FAIR CREDIT REPORTING ACT,
                       15 U.S.C. § 1681s-2(b)
                    (Ocwen Loan Servicing, LLC)

290. Plaintiffs incorporate by reference the preceding paragraphs as though fully

      stated herein.




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291. Pursuant to 15 U.S.C. § 1681s-2(a), Ocwen is responsible for providing accurate

      information whenever it furnishes information to any consumer reporting

      agencies.

292. Upon information and belief, Experian timely notified Ocwen of Scott Estep’s

      dispute, and provided Ocwen with all the relevant information that Scott Estep

      had submitted.

293. Pursuant to 15 U.S.C. § 1681s-2(b), Ocwen had a duty to investigate Scott

      Estep’s dispute and accurately report its findings to Experian.

294. A furnisher’s investigation must each be a good faith effort to ascertain the truth;

      a reasonable investigation must answer the substance of the consumer’s dispute,

      and may not merely be a pro forma record review that simply begs the question.

295. In order to conduct a reasonable investigation, and pursuant to 15 U.S.C. §

      1681s-2(b), Ocwen was required to review and consider all relevant information

      submitted by Scott Estep to Experian.

296. Scott Estep’s dispute regarding the Ocwen Second Mortgage tradeline was clear

      and unambiguous as to the inaccuracies of in the reporting of the Ocwen Second

      Mortgage tradeline.

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297. Scott Estep provided all the relevant information necessary for Ocwen to

      investigate and correct the discrepancies in the reporting of the Ocwen Second

      Mortgage tradeline.

298. Ocwen breached its duties as described herein.

299. If Ocwen had conducted a reasonable investigation of Scott Estep’s dispute,

      Ocwen would have reviewed and considered all of the information Scott Estep

      submitted to Experian in his dispute, and would have easily detected that what

      it was reporting regarding the Ocwen Second Mortgage tradeline was factually

      incorrect, inaccurate, and misleading.

300. If Ocwen had conducted a reasonable investigation of Scott Estep’s dispute, the

      Ocwen Second Mortgage tradeline on Scott Estep’s consumer report would

      have been corrected accordingly.

301. Due to Ocwen’s failures to provide accurate information, and failures to conduct

      reasonable investigations of Scott Estep’s dispute, the false and misleading

      information in his credit file and on his consumer reports as described herein

      was not appropriately edited, modified, or deleted.




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302. Ocwen had all the information necessary to correct its reporting. Yet Ocwen

      failed to appropriately correct its reporting in the face of clear evidence that it

      was false and misleading. That failure indicates that Ocwen’s review procedures

      were not reasonable.

303. The fact that Ocwen had all the information necessary to correct its reporting,

      yet failed to appropriately do so, further indicates that Ocweb recklessly

      disregarded Scott Estep’s dispute and the requirements of the FCRA, amounting

      to a willful violation of the statute.

304. Ocwen willfully, or in the alternative negligently, violated 15 U.S.C. § 1681s-

      2(b) by failing to conduct a reasonable investigation upon receiving notice of

      Scott Estep’s dispute from Experian, by failing to consider all of the information

      Scott Estep submitted to Experian in his dispute, by failing to appropriately

      report the results of its investigation, and/or by failing to appropriately edit,

      modify, or delete the disputed information, in reckless disregard of the statutory

      requirements, Scott Estep’s dispute, and the publicly recorded bankruptcy

      filings.




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305. As a result of Ocwen’s violations of 15 U.S.C. § 1681s-2(b), Scott Estep has

      suffered actual damages as stated herein. Scott Estep is, therefore, entitled to

      recover actual damages from Ocwen under 15 U.S.C. §§ 1681n and 1681o.

306. Ocwen’s actions and omissions were willful, rendering Ocwen liable to Scott

      Estep for punitive damages and/or statutory damages pursuant to 15 U.S.C. §

      1681n.

307. Scott Estep is entitled to recover costs and attorneys’ fees from Ocwen pursuant

      to 15 U.S.C. §§ 1681n and 1681o.

                                    COUNT IX

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT,
         15 U.S.C. §§ 1692e, 1692e(2), 1692e(8), and 1692e(10)
                    (Ocwen Loan Servicing, LLC)

308. Plaintiffs incorporate by reference the preceding paragraphs as though fully

      stated herein.

309. Ocwen was served notice from the Bankruptcy Noticing Center that the Second

      Mortgage was discharged in Plaintiffs’ Bankruptcy.

310. Despite having actual knowledge that Scott Estep’s personal liability for the

      Second Mortgage debt was discharged in Plaintiffs’ Bankruptcy, Ocwen

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      represented to Equifax that Scott Estep was personally liable for the Second

      Mortgage, in connection with Ocwen’s attempts to collect on the discharged

      Second Mortgage from Scott Estep.

311. In connection with its attempts to collect the discharged Second Mortgage debt,

      Ocwen falsely represented to Equifax that the Second Mortgage had a balance

      of $15,991.00, a past due balance of $1,877.00, a date of first delinquency of

      July, 2015, and was 120 days past due.

312. In connection with its attempts to collect the discharged Second Mortgage debt,

      Ocwen falsely represented to Equifax that the Second Mortgage had been

      charged off.

313. Ocwen’s provision of false, deceptive and misleading information regarding the

      character, amount, and legal status to Equifax, in connection with its attempts to

      collect the discharged Second Mortgage debt, violated multiple provisions of

      the FDCPA, including without limitation 15 U.S.C. §§ 1692e, 1692e(2),

      1692e(8), and 1692e(10).




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314. As a result of Ocwen’s violations of the FDCPA, Scott Estep has suffered actual

      damages as described herein. Scott Estep is therefore entitled to recover actual

      damages from Ocwen under 15 U.S.C. § 1692k.

315. Under 15 U.S.C. § 1692k, Scott Estep is also entitled to recover from Ocwen

      $1,000 in statutory damages, reasonable attorney’s fees, and costs.

                                    COUNT X

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT,
         15 U.S.C. §§ 1692e, 1692e(2), 1692e(8), and 1692e(10)
                    (Ocwen Loan Servicing, LLC)

316. Plaintiffs incorporate by reference the preceding paragraphs as though fully

      stated herein.

317. Ocwen was served notice from the Bankruptcy Noticing Center that the Second

      Mortgage was discharged in Plaintiffs’ Bankruptcy.

318. Despite having actual knowledge that Scott Estep’s personal liability for the

      Second Mortgage debt was discharged in Plaintiffs’ Bankruptcy, Ocwen

      represented to Experian that Scott Estep was personally liable for the Second

      Mortgage, in connection with Ocwen’s attempts to collect on the discharged

      Second Mortgage from Scott Estep.

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319. In connection with its attempts to collect the discharged Second Mortgage debt,

      Ocwen falsely represented to Experian that the Second Mortgage had a balance

      of $15,991.00, a past due balance of $1,877.00, a date of first delinquency of

      July, 2015, and was 120 days past due.

320. In connection with its attempts to collect the discharged Second Mortgage debt,

      Ocwen falsely represented to Experian that the Second Mortgage had been

      charged off.

321. Ocwen’s provision of false, deceptive and misleading information regarding the

      character, amount, and legal status to Experian in connection with its attempts

      to collect the discharged Second Mortgage debt violated multiple provisions of

      the FDCPA, including without limitation 15 U.S.C. §§ 1692e, 1692e(2),

      1692e(8), and 1692e(10).

322. As a result of Ocwen’s violations of the FDCPA, Scott Estep has suffered actual

      damages as described herein. Scott Estep is therefore entitled to recover actual

      damages from Ocwen under 15 U.S.C. § 1692k.

323. Under 15 U.S.C. § 1692k, Scott Estep is also entitled to recover from Ocwen

      $1,000 in statutory damages, reasonable attorney’s fees, and costs.

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                                    COUNT XI

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT,
         15 U.S.C. §§ 1692e, 1692e(2), 1692e(8), and 1692e(10)
                    (Ocwen Loan Servicing, LLC)

324. Plaintiffs incorporate by reference all preceding paragraphs as though fully

      stated herein.

325. Ocwen had actual notice that the Second Mortgage was discharged in Plaintiffs’

      Bankruptcy.

326. As such, Ocwen knew, or should have known, that the information regarding

      the Second Mortgage in the Mortgage Account Statements it mailed to Scott

      Estep was false, deceptive, and misleading.

327. Ocwen sent the Mortgage Account Statements containing the false, deceptive,

      and misleading information regarding the Second Mortgage to Scott Estep in

      connection with its efforts to collect the discharged Second Mortgage debt.

328. The false, deceptive, and misleading information contained in Ocwen’s

      November 24, 2015 Mortgage Account Statement, that was mailed to Scott

      Estep in connection with Ocwen’s attempts to collect the discharged Second




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      Mortgage debt, violated multiple provisions of the FDCPA, including without

      limitation 15 U.S.C. §§ 1692e, 1692e(2), 1692e(8), and 1692e(10).

329. As a result of Ocwen’s violations of the FDCPA, Scott Estep has suffered actual

      damages as described herein. Scott Estep is therefore entitled to recover actual

      damages from Ocwen under 15 U.S.C. § 1692k.

330. Under 15 U.S.C. § 1692k, Scott Estep is also entitled to recover from Ocwen

      $1,000 in statutory damages, reasonable attorney’s fees, and costs.

                                   COUNT XII

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT,
         15 U.S.C. §§ 1692e, 1692e(2), 1692e(8), and 1692e(10)
                    (Ocwen Loan Servicing, LLC)

331. Plaintiffs incorporate by reference all preceding paragraphs as though fully

      stated herein.

332. Ocwen had actual notice that the Second Mortgage was discharged in Plaintiffs’

      Bankruptcy.

333. As such, Ocwen knew, or should have known, that the information regarding

      the Second Mortgage in the Mortgage Account Statements it mailed to Scott

      Estep was false, deceptive, and misleading.

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334. Ocwen sent the Mortgage Account Statements containing the false, deceptive,

      and misleading information regarding the Second Mortgage to Scott Estep in

      connection with its efforts to collect the discharged Second Mortgage debt.

335. The false, deceptive, and misleading information contained in Ocwen’s

      December 22, 2015 Mortgage Account Statement, that was mailed to Scott

      Estep in connection with Ocwen’s attempts to collect the discharged Second

      Mortgage debt, violated multiple provisions of the FDCPA, including without

      limitation 15 U.S.C. §§ 1692e, 1692e(2), 1692e(8), and 1692e(10).

336. As a result of Ocwen’s violations of the FDCPA, Scott Estep has suffered actual

      damages as described herein. Scott Estep is therefore entitled to recover actual

      damages from Ocwen under 15 U.S.C. § 1692k.

337. Under 15 U.S.C. § 1692k, Scott Estep is also entitled to recover from Ocwen

      $1,000 in statutory damages, reasonable attorney’s fees, and costs.

                                   COUNT XIII

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT,
         15 U.S.C. §§ 1692e, 1692e(2), 1692e(8), and 1692e(10)
                    (Ocwen Loan Servicing, LLC)




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338. Plaintiffs incorporate by reference all preceding paragraphs as though fully

      stated herein.

339. Ocwen had actual notice that the Second Mortgage was discharged in Plaintiffs’

      Bankruptcy.

340. As such, Ocwen knew, or should have known, that the information regarding

      the Second Mortgage in the Mortgage Account Statements it mailed to Scott

      Estep was false, deceptive, and misleading.

341. Ocwen sent the Mortgage Account Statements containing the false, deceptive,

      and misleading information regarding the Second Mortgage to Scott Estep in

      connection with its efforts to collect the discharged Second Mortgage debt.

342. The false, deceptive, and misleading information contained in Ocwen’s January

      22, 2015 Mortgage Account Statement, that was mailed to Scott Estep in

      connection with Ocwen’s attempts to collect the discharged Second Mortgage

      debt, violated multiple provisions of the FDCPA, including without limitation

      15 U.S.C. §§ 1692e, 1692e(2), 1692e(8), and 1692e(10).




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343. As a result of Ocwen’s violations of the FDCPA, Scott Estep has suffered actual

      damages as described herein. Scott Estep is therefore entitled to recover actual

      damages from Ocwen under 15 U.S.C. § 1692k.

344. Under 15 U.S.C. § 1692k, Scott Estep is also entitled to recover from Ocwen

      $1,000 in statutory damages, reasonable attorney’s fees, and costs.

                                   COUNT XIV

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT,
         15 U.S.C. §§ 1692e, 1692e(2), 1692e(8), and 1692e(10)
                    (Ocwen Loan Servicing, LLC)

345. Plaintiffs incorporate by reference all preceding paragraphs as though fully

      stated herein.

346. In connection with its attempts to collect the discharged Second Mortgage debt,

      Ocwen referred the discharged Second Mortgage debt to Nationwide for

      collection.

347. In connection with its attempts to collect the discharged Second Mortgage debt,

      Ocwen falsely represented to Nationwide that Scott Estep was still personally

      liable for the discharged Second Mortgage debt.




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348. Ocwen had actual notice that the Second Mortgage was discharged in Plaintiffs’

      Bankruptcy.

349. As such, Ocwen knew, or should have known, that its representations to

      Nationwide, that Scott Estep was still personally liable for the discharged

      Second Mortgage debt, were false, deceptive, and misleading.

350. Ocwen’s false, deceptive, and misleading representations to Nationwide in

      connection with its attempts to collect the discharged Second Mortgage debt

      violated multiple provisions of the FDCPA, including without limitation 15

      U.S.C. §§ 1692e, 1692e(2), 1692e(8), and 1692e(10).

351. As a result of Ocwen’s violations of the FDCPA, Scott Estep has suffered actual

      damages as described herein. Scott Estep is therefore entitled to recover actual

      damages from Ocwen under 15 U.S.C. § 1692k.

352. Under 15 U.S.C. § 1692k, Scott Estep is also entitled to recover from Ocwen

      $1,000 in statutory damages, reasonable attorney’s fees, and costs.

                                   COUNT XV

   VIOLATIONS OF THE BANKRUPTCY DISCHARGE INJUNCTION
         WARRANTING A FINDING OF CONTEMPT AND
                 THE AWARD OF SANCTIONS

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                               11 U.S.C. § 524(a)(2)
                           (Ocwen Loan Servicing, LLC)

353. Plaintiffs incorporate by reference all preceding paragraphs as though fully

      stated herein.

354. Ocwen was served notice from the Bankruptcy Noticing Center that the Second

      Mortgage was discharged in Plaintiffs’ Bankruptcy.

355. Despite being served with notice of discharge, Ocwen continued its efforts to

      collect the discharged Second Mortgage debt from Scott Estep.

356. Ocwen willfully violated 11 U.S.C. § 524(a)(2) by attempting to collect the

      discharged Second Mortgage debt from Scott Estep by reporting post-

      bankruptcy derogatory collection information to Equifax, including that there

      was still a balance in active collection.

357. After receiving actual notice of its false and misleading post-discharge report,

      and a specific request to remedy the false report, Ocwen reported to Equifax that

      the Second Mortgage debt was charged off, as opposed to discharged in

      bankruptcy.




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358. By reporting the Second Mortgage debt to Equifax as charged off, as opposed

      to discharged in bankruptcy, Ocwen continues to represent that Scott Estep is

      personally liable for the discharged Second Mortgage debt.

359. Ocwen has continued its efforts to collect the discharged Second Mortgage debt

      by, among other things, sending false Mortgage Account Statements to Scott

      Estep, and referring the Second Mortgage debt to Nationwide for collections.

360. Ocwen’s actions and omissions in furtherance of its attempts to collect the

      discharged Second Mortgage debt are willful, rendering Ocwen liable for civil

      contempt sanctions.

                                  COUNT XVI

   VIOLATIONS OF THE BANKRUPTCY DISCHARGE INJUNCTION
         WARRANTING A FINDING OF CONTEMPT AND
                 THE AWARD OF SANCTIONS
                      11 U.S.C. § 524(a)(2)
                  (Ocwen Loan Servicing, LLC)

361. Plaintiffs incorporate by reference all preceding paragraphs as though fully

      stated herein.

362. Ocwen was served notice from the Bankruptcy Noticing Center that the Second

      Mortgage was discharged in Plaintiffs’ Bankruptcy.

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363. Despite being served with notice of discharge, Ocwen continued its efforts to

      collect the discharged Second Mortgage debt from Scott Estep.

364. Ocwen willfully violated 11 U.S.C. § 524(a)(2) by attempting to collect the

      discharged Second Mortgage debt from Scott Estep by reporting post-

      bankruptcy derogatory collection information to Experian, including that there

      was still a balance in active collection.

365. After receiving actual notice of its false and misleading post-discharge report,

      and a specific request to remedy the false report, Ocwen reported to Experian

      that the Second Mortgage debt was charged off, as opposed to discharged in

      bankruptcy.

366. By reporting the Second Mortgage debt to Experian as charged off, as opposed

      to discharged in bankruptcy, Ocwen continues to represent that Scott Estep is

      personally liable for the discharged Second Mortgage debt.

367. Ocwen has continued its efforts to collect the discharged Second Mortgage debt

      by, among other things, sending false Mortgage Account Statements to Scott

      Estep, and referring the Second Mortgage debt to Nationwide for collections.




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368. Ocwen’s actions and omissions in furtherance of its attempts to collect the

      discharged Second Mortgage debt are willful, rendering Ocwen liable for civil

      contempt sanctions.

                                 COUNT XVII

   VIOLATIONS OF THE BANKRUPTCY DISCHARGE INJUNCTION
         WARRANTING A FINDING OF CONTEMPT AND
                 THE AWARD OF SANCTIONS
                      11 U.S.C. § 524(a)(2)
                  (Ocwen Loan Servicing, LLC)

369. Plaintiffs incorporate by reference all preceding paragraphs as though fully

      stated herein.

370. Ocwen was served notice from the Bankruptcy Noticing Center that the Second

      Mortgage was discharged in Plaintiffs’ Bankruptcy.

371. Despite being served with notice of discharge, Ocwen continued its efforts to

      collect the discharged Second Mortgage debt from Scott Estep.

372. Ocwen willfully violated 11 U.S.C. § 524(a)(2) by attempting to collect the

      discharged Second Mortgage debt from Scott Estep by sending false Mortgage

      Account Statements to Scott Estep and requesting payment.




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373. Ocwen’s actions and omissions in furtherance of its attempts to collect the

      discharged Second Mortgage debt are willful, rendering Ocwen liable for civil

      contempt sanctions.

                                 COUNT XVIII

   VIOLATIONS OF THE BANKRUPTCY DISCHARGE INJUNCTION
         WARRANTING A FINDING OF CONTEMPT AND
                 THE AWARD OF SANCTIONS
                      11 U.S.C. § 524(a)(2)
                  (Ocwen Loan Servicing, LLC)

374. Plaintiffs incorporate by reference all preceding paragraphs as though fully

      stated herein.

375. Ocwen was served notice from the Bankruptcy Noticing Center that the Second

      Mortgage was discharged in Plaintiffs’ Bankruptcy.

376. Despite being served with notice of discharge, Ocwen continued its efforts to

      collect the discharged Second Mortgage debt from Scott Estep.

377. Ocwen willfully violated 11 U.S.C. § 524(a)(2) by attempting to collect the

      discharged Second Mortgage debt from Scott Estep by referring the Second

      Mortgage to Nationwide for collections.




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378. Ocwen’s actions and omissions in furtherance of its attempts to collect the

      discharged Second Mortgage debt are willful, rendering Ocwen liable for civil

      contempt sanctions.

                                    COUNT XIX

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT,
      15 U.S.C. §§ 1692e, 1692e(2), 1692e(5) 1692e(8), and 1692e(10)
                        (Nationwide Credit, Inc.)

379. Plaintiffs incorporate by reference all preceding paragraphs as though fully

      stated herein.

380. In connection with its attempts to collect the discharged Second Mortgage debt,

      Nationwide sent Scott Estep a collection letter that falsely represented that Scott

      Estep was still personally liable for the discharged Second Mortgage debt.

381. In connection with its attempts to collect the discharged Second Mortgage debt,

      Nationwide threatened to take action against Scott Estep that cannot legally be

      taken.

382. Accordingly, Nationwide’s March 3, 2016 collection letter to Scott Estep, sent

      in connection with its attempts to collect the discharged Second Mortgage debt,




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      violated multiple provisions of the FDCPA, including without limitation 15

      U.S.C. §§ 1692e, 1692e(2), 1692 e(5), 1692e(8), and 1692e(10).

383. As a result of Nationwide’s violations of the FDCPA, Scott Estep has suffered

      actual damages as described herein. Scott Estep is therefore entitled to recover

      actual damages from Nationwide under 15 U.S.C. § 1692k.

384. Under 15 U.S.C. § 1692k, Scott Estep is also entitled to recover from

      Nationwide $1,000 in statutory damages, reasonable attorney’s fees, and costs.

                                     COUNT XX

   VIOLATIONS OF THE BANKRUPTCY DISCHARGE INJUNCTION
         WARRANTING A FINDING OF CONTEMPT AND
                 THE AWARD OF SANCTIONS
                      11 U.S.C. § 524(a)(2)
                    (Nationwide Credit, Inc.)

385. Plaintiffs incorporate by reference all preceding paragraphs as though fully

      stated herein.

386. Nationwide sent Scott Estep a collection letter that falsely represented that Scott

      Estep was still personally liable for the discharged Second Mortgage debt.

387. Nationwide willfully violated 11 U.S.C. § 524(a)(2) by attempting to collect a

      discharged debt by sending a collection letter dated March 3, 2016.

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388. Nationwide’s actions and omissions were willful, rendering it liable for civil

      contempt sanctions.


      WHEREFORE, Plaintiff prays that judgment be entered against these

Defendants for:

       a.) Plaintiff’s actual damages;

       b.) Punitive and/or statutory damages pursuant to 15 U.S.C. § 1681n;

       c.) Reasonable attorney’s fees and costs pursuant to 15 U.S.C. §§ 1681n

          and/or 1681o;

       d.) Statutory damages against Ocwen and Nationwide pursuant to 15 U.S.C.

          § 1692k;

       e.) Reasonable attorney’s fees and costs against Ocwen and Nationwide

          pursuant to 15 U.S.C. § 1692k;

       f.) Civil Contempt damages and penalties against Ocwen and Nationwide in

          an amount sufficient to affirm the integrity of the Orders of the

          Bankruptcy Court, the importance of guaranteeing Plaintiff Scott Estep

          the “Fresh Start” he is entitled to upon discharge, and to deter future

          similar conduct on the part of Ocwen and Nationwide; and,
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       g.) Such other and further relief as may be just and proper.


Respectfully submitted this 1st day of July, 2016.


                                               /s/ Paul J. Sieg
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